                Case 2:13-cr-00354-MCE Document 61 Filed 09/09/15 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 CHRISTIAAN H. HIGHSMITH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
 6 Attorneys for Plaintiff
   United States of America
 7
 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00354-MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   FARAH SARWAR ET AL.,                                DATE: September 10, 2015
                                                         TIME: 9:00 a.m.
15                                Defendants.            COURT: Hon. Morrison C. England, Jr.
16
17                                               STIPULATION

18         1.       By previous order, this matter was set for status on September 10, 2015.

19         2.       By this stipulation, defendants now move to continue the status conference until October

20 8, 2015, and to exclude time between September 10, 2015, and October 8, 2015, under Local Code T4.
21         3.       The parties agree and stipulate, and request that the Court find the following:

22                  a)     The government has represented that the discovery associated with this case

23         includes approximately 288 pages of documents, Bates numbered 1-228, plus audio and video

24         recordings, Bates numbered 229-14,878. All of this discovery has been either produced directly

25         to counsel and/or made available for inspection and copying.

26                  b)     Counsel for defendants desire additional time to review discovery in this case,

27         consult with their clients to review the current charges and evaluate the discovery in light of

28         those charges, to conduct investigation and research related to the charges, to discuss potential

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER            1
            Case 2:13-cr-00354-MCE Document 61 Filed 09/09/15 Page 2 of 3


 1        resolutions with their clients, to evaluate the need for pretrial motions, and to otherwise prepare

 2        for trial.

 3                 c)     Counsel for defendants believe that failure to grant the above-requested

 4        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5        into account the exercise of due diligence.

 6                 d)     The government does not object to the continuance.

 7                 e)     Based on the above-stated findings, the ends of justice served by continuing the

 8        case as requested outweigh the interest of the public and the defendant in a trial within the

 9        original date prescribed by the Speedy Trial Act.

10                 f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11        et seq., within which trial must commence, the time period of September 10, 2015 to October 8,

12        2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

14        of the Court’s finding that the ends of justice served by taking such action outweigh the best

15        interest of the public and the defendant in a speedy trial.

16 ///
17 ///
18 ///
19 ///

20 ///
21 ///
22 ///
23 ///
24 ///
25 ///
26 ///
27 ///
28 ///

     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
                 Case 2:13-cr-00354-MCE Document 61 Filed 09/09/15 Page 3 of 3


 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: September 8, 2015                                  BENJAMIN B. WAGNER
 6                                                             United States Attorney
 7
                                                               /s/ CHRISTIAAN H.
 8                                                             HIGHSMITH
                                                               CHRISTIAAN H. HIGHSMITH
 9                                                             Assistant United States Attorney
10
11 Dated: September 8, 2015                                    /s/ CHRIS HAYDN-MYER
                                                               CHRIS HAYDN-MYER
12
                                                               Counsel for Defendant
13                                                             Farah Sarwar

14
     Dated: September 8, 2015                                  /s/ MICHAEL HANSEN
15                                                             MICHAEL HANSEN
                                                               Counsel for Defendant
16                                                             Hussain Shahzad
17
                                                       ORDER
18
            IT IS SO ORDERED.
19
     Dated: September 9, 2015
20
21
22
23
24
25
26
27
28

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
